AO 245B (WDNC Rev. 4/04) Judgment in a Criminal Case



                                                 United States District Court
                                            For The Western District of North Carolina

UNITED STATES OF AMERICA                                                             JUDGM ENT IN A CRIM INAL CASE
                                                                             (For Offenses Com m itted On or After Novem ber 1, 1987)
        V.
                                                                             Case Num ber: DNCW 208CR000012-001
Am y Elizabeth Arch
                                                                             USM Num ber: 22221058

                                                                             Kris W illiam s and Richard Cassady
                                                                             Defendant’s Attorney

THE DEFENDANT:

X       pleaded guilty to count(s) 1.
        Pleaded nolo contendere to count(s) which was accepted by the court.
        W as found guilty on count(s) after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):


                                                                                             Date Offense
 Title and Section               Nature of Offense                                           Concluded                         Counts

 18 USC 113(a)(5)                Sim ple Assault - Lesser included offense                   03/02/08                          1



      The defendant is sentenced as provided in pages 2 through 3 of this judgm ent. The sentence is im posed pursuant to the
Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

        The defendant has been found not guilty on count(s) .
        Count(s) (is)(are) dism issed on the m otion of the United States.

        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this judgm ent are fully
paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States attorney of any m aterial change in
the defendant’s econom ic circum stances.

                                                                                   Date of Im position of Sentence: 06/27/08




                                                                                   Date:




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                                                               IM PRISONM ENT

       The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for Tim e
Served.


     The Court m akes the following recom m endations to the Bureau of Prisons:

     The defendant is rem anded to the custody of the United States Marshal.

     The defendant shall surrender to the United States Marshal for this district:

             At        On     .
             As notified by the United States Marshal.

     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:


             Before 2 pm on .
             As notified by the United States Marshal.
             As notified by the Probation or Pretrial Services Office.

                                                                    RETURN

I have executed this Judgm ent as follows:




        Defendant delivered on                                         To

At                                                     , with a certified copy of this Judgm ent.


                                                                                       United States Marshal

                                                                               By
                                                                                       Deputy Marshal




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                                                   CRIM INAL M ONETARY PENALTIES

The defendant shall pay the following total crim inal m onetary penalties in accordance with the Schedule of Paym ents.


               ASSESSM ENT                                          FINE                                      RESTITUTION

                    $10.00                                          $0.00                                       $89,728.74



                                                                   FINE


        The defendant shall pay interest on any fine or restitution of m ore than $2,500.00, unless the fine or restitution is paid in full
before the fifteenth day after the date of judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options on the Schedule of
Paym ents m ay be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

X           The court has determ ined that the defendant does not have the ability to pay interest and it is ordered that:

X           The interest requirem ent is waived.

            The interest requirem ent is m odified as follows:


                                                  COURT APPOINTED COUNSEL FEES

            The defendant shall pay court appointed counsel fees.

            The defendant shall pay $                  Towards court appointed fees.




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                                                       RESTITUTION PAYEES

The defendant shall m ake restitution to the following payees in the am ounts listed below:


 NAME OF PAYEE                                                    AMOUNT OF RESTITUTION ORDERED
 Daniel J. Perez,                                                 $283.00 - $194 for clothing and $89 shoes

 Cherokee Tribal EMS, P. O. Box 863, Lewisville, NC               $439.19
 27203-0863

 Asheville Radiology Association, P. O. Box 2809,                 $356.00
 Asheville, NC 28802-2809

 Mission Hospital, P. O. Box 75378, Charlotte, NC 28275-          $19,865.55
 0378

 North Carolina Crim e Victim ’s Com pensation Com m ission       $30,000.00
 - Claim # 08-36336, 6714 Mail Service Center, Raleigh,
 NC 27699-6714

 Asheville Anesthesia Association, P.A, P. O. Box 601017,         $2,861.00
 Charlotte, NC 28260

 Mtn. Area Medical Airlift (Mission Hospital, Make check          $7,315.00
 payable to Horizon Managem ent Services, Inc., D/B/A
 Professional Collection Services, P. O. Box 5903,
 Asheville, NC 28813

 MMH Traum a Surgeon Services, P. O. Box 15268,                   $27,719.00
 Asheville, NC 28813

 Carolina Mtn Em ergency Med, PA, P. O. Box 2249,                 $890.00
 Pawley’s Island, SC 29585



 X      The issue of loss wages will be addressed when a sworn affidavit by the victim ’s em ployer stating hours loss, salary has
been filed with the Court. The Governm ent has until Septem ber 01, 2008 to file said affidavit.

X       The defendant is jointly and severally liable with co-defendants for the total am ount of restitution.

        Any paym ent not in full shall be divided proportionately am ong victim s.

X       All outstanding m onies to be collected by the United States Attorney Financial Litigation Unit.




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